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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES - GENERAL
 Case No.          CV 11-03724-RGK (VBKx)                                          Date   December 6, 2011
 Title
                   Manmohan Chhabra, et al. v. Mehul Patel, et al.




 Present: The Honorable              R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

       V. Del Rio for S. Williams                           Not Reported                         None
                 Deputy Clerk                         Court Reporter / Recorder                 Tape No.

                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                             Not Present

 Proceedings:                 (IN CHAMBERS) Defendant Jagmohan Dhillon’s Motion to Dismiss
                              Case (DE 56) and Defendants Corsicana Lodging, LLC, Denison
                              Lodging, LLC, Ennis Lodging, LLC, Newcrest Hotels Ltd, Chirag Patel,
                              Mehul Patel, Sagestar Holdings, Ltd., Sagestar Management GP,
                              LLC’s Motion to Dismiss Case (DE 57)


      The Court hereby advises counsel that the above-referenced motions, noticed for
hearing on December 12, 2011, has been taken under submission and off the motion
calendar. No appearances by counsel are necessary. The Court will issue a ruling after full
consideration of properly submitted pleadings.

         IT IS SO ORDERED.




                                                                                          00     :         00
                                                           Initials of Preparer                      vdr




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